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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
   ____________________________________
   DONALD J. TRUMP,                     )
                                        )
   Plaintiff,                           )
                                       )
   v.                                  )
                                       )  Case No. 2:22-cv-14102-DMM
                                       )
   HILLARY R. CLINTON, ET AL.,         )
                                       )
                                       )
   Defendants.                         )
   ____________________________________)


                            CHARLES DOLAN’S MOTION TO DISMISS

          Defendant Charles Dolan, by and through counsel, respectfully moves this Court to dismiss

   the Complaint against him in this matter pursuant to Rules 12(b)(2), 12(b)(3), and 12(b)(6) of the

   Federal Rules of Civil Procedure. An accompanying Memorandum is filed in support of this

   Motion.

          Counts II, IV, and VI, three conspiracy counts, which relate to RICO, injurious falsehood

   and malicious prosecution, are the Counts pled against Mr. Dolan.

                                                Respectfully submitted,

                                                /s/ George R. A. Doumar
                                                George R.A. Doumar
                                                Admitted Pro Hac Vice
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                                                Attorneys for Charles H. Dolan
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                                  CERTIFICATE OF SERVICE

                 I hereby certify that on May 23, 2022, I electronically filed the foregoing with the

    Clerk of the Court using the CM/ECF system which will send notification of such filing on all

    counsel of record.

                                                /s/ George R. A. Doumar
                                                George R.A. Doumar
                                                Admitted Pro Hac Vice
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                                                Attorneys for Charles H. Dolan




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